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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION
Robert Dana Green                             )    C/A No.: 2:20-cv-04121-DCN
                             Plaintiff,       )
vs.                                           )
                                              )
Philip Habermehl                              )
                             Defendant.       )

             THE UNITED STATES OF AMERICA’S NOTICE OF REMOVAL
       Comes now the United States of America, by and through the undersigned attorneys, and

hereby gives notice pursuant to 28 U.S.C. § 1441 and §1442 that it is removing this state-court

civil action to federal District Court on the following grounds:

       1.      On July 28, 2020, Plaintiff, Robert Dana Green filed a 30-Day Summons and

Complaint in Dorchester County, State of South Carolina, in the Common Pleas Court for the First

Circuit, Case No. 2020-CP-18-01112, naming Philip Habermehl as defendant in a motor vehicle

negligence action. A copy of the Original Complaint is attached as Exhibit 1.

       2.      The initial Complaint filed by Plaintiff sounds in negligence for the personal injury

and damages of the plaintiff. Mr. Habermehl is deemed to be eligible for Federal Tort Claims Act

coverage as an exclusive remedy if acting within the scope of his employment at the time of the

incident. The Federal Tort Claims Act coverage is the exclusive remedy if Mr. Habermehl was

acting as a covered person in which Congress provided.

       3.      The Attorney General, acting by and through the United States Attorney for the

District of South Carolina, has certified that Mr. Habermehl was at all relevant times, acting as a

covered person within the scope of his employment at the Department of Interior. 42 U.S.C.

§233(c) and 28 C.F.R. §15.4.

        4.     Plaintiff served the aforementioned 30-Day Summons and Complaint on Mr.

Habermehl, but has not properly served the United States or its Agency under Federal Rule of
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Civil Procedure 4(i), thus making this Removal timely under federal rule. The United States is

entitled to a 60-Day Summons under Federal Rule of Civil Procedure 12(a)(2).

       5.        The foregoing action constitutes an action that is removable to this Court pursuant

to 28 U.S.C. §§1441, 1442, and 1446. This Court has original jurisdiction pursuant to 28 U.S.C.

§1331 and §1346.

       6.        A copy of this notice will be filed with the Clerk of Court for Dorchester County,

State of South Carolina, pursuant to 28 U.S.C. §1446, after the filing of the original of this notice

in this Court.

       7.        Plaintiff has been contacted and consents to the Removal to federal court.

       8.        Simultaneous with the filing of this Notice of Removal, the United States of

America is filing a motion to substitute The United States of America as the properly named

defendant under 28 U.S.C. §2679(d)(2), and removing Mr. Habermehl from the caption.

       9.        This action against the United States of America raises one or more federal

questions; none of which are jurisdictionally proper in state court.

       WHEREFORE, we seek to have the entire civil action, now pending in the Court of

Common Pleas in Dorchester County, South Carolina, removed to the United States District Court

for the District of South Carolina, by consent of the parties.

                                               PETER M. MCCOY, JR.
                                               UNITED STATES ATTORNEY

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